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   8                      UNITED STATE DISTRICT COURT
   9                    CENTRAL DISTRICT OF CALIFORNIA
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  11 ALAN BAKER,                             Case No. 2:19-cv-08024-ODW(JC)
     LINDA B. OLIVER,
  12                                         ORDER DISMISSING ACTION
               Plaintiffs,
  13
          v.                                 Hon. Otis D. Wright II
  14
     ALLSTATE INSURANCE                      Dept:    First Street Courthouse,
  15 COMPANY, EDWARD CARRASCO,               Courtroom 5D
     and DOES 1 through 10, inclusive,
  16                                         Complaint Filed: August 16, 2018
               Defendants.                   Trial Date: Not yet set.
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                                                               ORDER DISMISSING ACTION
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   1        Based on the parties’ stipulation, and good cause appearing, IT IS HEREBY
   2 ORDERED THAT:
   3
   4        1.    This action is dismissed with prejudice;
   5        2.    The Court retains jurisdiction with respect to Defendant Allstate
   6              Insurance Company’s request for sanctions against Christopher G.
   7              Hook [Dkt. Nos. 39-40] and the Court’s award in connection therewith;
   8        3.    The parties shall bear their own costs and attorneys’ fees.
   9        IT IS HEREBY ORDERED.
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       Dated: March 11, 2020
  12                                                      Otis D. Wright, II
  13                                                 United States District Judge
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                                               -2-                 Case No. 2:19-cv-08024-ODW-JC
                                                                    ORDER DISMISSING ACTION
